
The Chief Justice
in delivering the opinion of the court said, that by the will, the executors, and the purchasers under them, could acquire only a temporary, and not a perpetual interest in these girls: — on the death of the testator they ceased to be slaves;' — no person could claim them as such, or hold that extensive property in them which belonged to the owner of a slave. — Their time of servitude was limited to a definite period; they were therefore servants for a term of years and entitled to their freedom. The issue, born during that period, therefore, could not be slaves: they follow the condition of the mother who was not one. The issue of servants are free.
The hardship pretended by the defendant, does not alter the case, the loss he may have sustained by the temporary incapacity of the mother ought not to be recompensed by the slavery of the child. Besides, the will directs that the risk shall be upon the purchaser; this is a general expression and must be applied generally.
*37i'ho cases cited of legacies, and the distinction that has been drawn between them when payable at 21, or when the legacy vests at 21, are inapplicable to this case of personal liberty. The arbitrary rules of property are applicable only to a certain extent, to cases of this description.
In short, the purchaser had no interest in Betty beyond her service for 15 years; he cannot therefore pretend to any rights which result from the mere condition of slavery.
Negro discharged.
